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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:
                                                                 Chapter 7
    BAYOU STEEL BD HOLDINGS, L.L.C., et al.,1
                                                                 Case No. 19-12153 (KBO)

                    Debtors.                                     (Jointly Administered)


                                       CERTIFICATE OF SERVICE

                   I, Peter J. Keane, hereby certify that on the 21st day of August, 2020, I caused a
copy of the following to be served on the attached service list in the manner indicated.


             Motion of George L. Miller, Chapter 7 Trustee, Seeking the Entry of an Order
             Approving and Authorizing a Protocol to Compromise Preference Claims


    Dated: August 21, 2020
                                                        /s/ Peter J. Keane
                                                       Peter J. Keane (DE Bar No. 5503)




1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are
Bayou Steel BD Holdings, L.L.C., a Delaware limited liability company (1984), BD Bayou Steel Investment, LLC,
a Delaware limited liability company (1222), and BD LaPlace, LLC, a Delaware limited liability company (5783).
The Debtors’ former location was: 138 Highway 3217, LaPlace, Louisiana 70068.


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